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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No.: 2:21-06654 SVW (ADS)                                  Date: February 10, 2022
 Title: Joseph v. Superior Court of California Los Angeles, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


                Kristee Hopkins                              None Reported
                 Deputy Clerk                           Court Reporter / Recorder

       Attorney(s) Present for Plaintiff(s):       Attorney(s) Present for Defendant(s):
                 None Present                                  None Present

 Proceedings:          (IN CHAMBERS) ORDER DISMISSING COMPLAINT
                       WITH LEAVE TO AMEND
 I.      INTRODUCTION
        Before the Court is a pro se civil rights complaint filed by Plaintiff Kristen Joseph
 (“Plaintiff”). (Dkt. No. 1., Compl.) Having conducted the mandatory screening as
 required under 28 U.S.C. § 1915A(a), the Court dismisses the Complaint with leave to
 amend.
 II.     FACTUAL ALLEGATIONS
         The allegations in Plaintiff’s Complaint are difficult to decipher. As best the
 Court can understand, this case relates to an ongoing juvenile dependency proceeding in
 Los Angeles Superior Court. Plaintiff is the mother of W. J. (Compl. ¶ 23.) The
 Complaint alleges that all the defendants removed her son from her custody and began
 terminating her parental rights. (Id. ¶¶ 2, 27-33.) The Complaint also alleges that the
 Los Angeles Dependency Lawyers and its attorneys were appointed to represent her but
 have failed to adequately do so. (Id. ¶ 43-46, 55, 88.) The Complaint further alleges
 that Plaintiff has tried to file for accommodations but has been prevented from doing so
 by unidentified court clerks. (Id. ¶¶ 69-70.) The Complaint alleges that a hearing was
 scheduled to occur on July 16, 2021—a month before the Complaint was filed—to make
 a final decision regarding her parental rights to her son. (Id. ¶¶ 82, 84.) It is unclear
 from the Complaint whether that hearing occurred. The Complaint alleges Plaintiff has
 been deprived of her due process and equal protection rights under the Fourteenth
 Amendment. (Id. ¶¶ 7-28, 84-88).


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        The Complaint specifically asserts two claims. The first is conspiracy under 42
 U.S.C. § 1985(3) (“Section 1985”). This claim is asserted against the (1) Los Angeles
 County Superior Court, Dependency Division and the judicial officers presiding over the
 dependency case (collectively, “Superior Court Defendants”); (2) Los Angeles County
 Department of Child and Family Services and its attorneys that filed the dependency
 case (collectively, “DCFS”); (3) Los Angeles Dependency Lawyers and its attorneys who
 have represented her (collectively, “LADL”); and (4) unidentified clerks who work for
 the Los Angeles Superior Court.1 The second is a violation of the Americans with
 Disabilities Act against the Superior Court Defendants and the unidentified clerks. The
 Complaint does not identify the capacity in which any of these defendants are sued. The
 Complaint seeks to enjoin any further proceedings in the juvenile dependency case and
 seeks general damages.
 III.   LEGAL STANDARD
        The Court must screen a pro se complaint brought by prisoners to identify the
 cognizable claims or to dismiss those that are frivolous, malicious, or fail to state a claim
 upon which relief can be granted. 28 U.S.C. § 1915A(a)-(b)(1). The Court accepts as true
 the factual allegations contained in the Complaint and construes all inferences in
 Plaintiff’s favor. See Hamilton v. Brown, 630 F.3d 889, 892-93 (9th Cir. 2011).
 However, the Court need not accept as true “a legal conclusion couched as a factual
 allegation.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The Court liberally
 construes the Complaint because Plaintiff is proceeding pro se. Hamilton, 630 F.3d at
 893.




 1 In addition to the named defendants under the Section “Parties,” (Compl. at 4), several

 individuals who work for the organizational entities are identified throughout the
 Complaint. The Court’s discussion below takes into consideration those specific
 individuals though Plaintiff has not named them as defendants.
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 IV.    ANALYSIS
        A.     Claim 1: Conspiracy to Violate Constitutional Rights (42 U.S.C.
               § 1985(3))2
         The first claim raised in the Complaint is a Section 1985(3) conspiracy claim
 against all the defendants. Section 1985(3) “prohibits two or more persons from
 conspiring to deprive any person or class of persons of the equal protection of the law.”
 Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1141 (9th Cir. 2000). To state a Section
 1985(3) claim, a plaintiff must allege “(1) the existence of a conspiracy to deprive [her]
 of the equal protection of the laws; (2) an act in furtherance of the conspiracy and (3) a
 resulting injury.” Id. “A mere allegation of conspiracy without factual specificity is
 insufficient.” Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621, 626 (9th Cir.
 1988). In addition, a plaintiff must allege that the defendant acted under color of state
 law. Sykes v. California, 497 F.2d 197, 202 (9th Cir. 1974); see also Solano v. Select
 Portfolio Servicing, Inc., No. CV-15-9718-MWF (GJSx), 2016 WL 5937794, at *3 (C.D.
 Cal. Apr. 6, 2016) (dismissing Section 1985 claim for failure to allege that the defendants
 acted under color of state law).

               1.     Younger Abstention

         Under the Younger abstention doctrine, a federal court should abstain from
 hearing a case that would interfere with ongoing state proceedings absent extraordinary
 circumstances. See Younger v. Harris, 401 U.S. 37, 43-54 (1971); ReadyLink Healthcare,
 Inc. v. State Comp. Ins. Fund, 754 F.3d 754, 758 (9th Cir. 2014). Abstention is
 appropriate in three categories of cases: “(1) parallel, pending state criminal
 proceedings, (2) state civil proceedings that are akin to criminal prosecutions, and
 (3) state civil proceedings that implicate a State’s interest in enforcing the orders and
 judgments of its courts.’” Herrera v. City of Palmdale, 918 F.3d 1037, 1043 (9th Cir.
 2019) (quoting ReadyLink, 754 F.3d at 759). In addition to falling into one of these
 three categories of cases, a state court proceeding must also (1) be ongoing, (2) implicate
 important state interests, and (3) provide an adequate opportunity to raise


 2 The Complaint also makes passing reference to 42 U.S.C. § 1983 but does not assert a

 claim under this statute. (Compl. ¶ 13.)
                                             3
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 constitutional challenges. Id. at 1044. Under the Younger abstention doctrine, “claims
 for injunctive and declaratory relief are typically dismissed.” Herrera, 918 F.3d at 1042.
 However, where damages are at issue, the damages action should be stayed rather than
 dismissed until the state proceedings are completed. Gilbertson v. Albright, 381 F.3d
 965, 968 (9th Cir. 2004).

         Younger abstention is appropriate in this case. First, juvenile dependency cases,
 like the one at issue here, are akin to criminal prosecution seeing as the state is
 attempting to take custody of a parent’s child based on concerns for the child’s welfare.
 See Hui Lian Ke v. Sandoval, No. 17-cv-04229-EMC, 2018 WL 163339, at *2 (N.D. Cal.
 Apr. 12, 2018) (“Child dependency cases, where the State has taken or is attempting to
 take custody of children, fit the description of that second category of cases that are akin
 to a criminal prosecution.”); see also Moore v. Sims, 442 U.S. 415, 419-20, 423 (1979)
 (noting child dependency proceedings are akin to a criminal prosecution). Second,
 based on the allegations in the Complaint, it appears the juvenile dependency
 proceeding is ongoing because Plaintiff seeks to enjoin the proceeding from continuing.
 (Compl. ¶¶ 82-84, 104-105.) Third, juvenile dependency proceedings implicate
 important state interests. See Negrete v. Los Angeles Cnty., No. 2:20-cv-11124-JGB
 (MAA), 2021 WL 2551595, at *2 (C.D. Cal. June 22, 2021) (finding juvenile dependency
 proceedings implicated important state interests); Belinda K. v. Cnty. of Alameda, No.
 10-CV-05797-LHK, 2012 WL 273661, at *3 (N.D. Cal. Jan. 30, 2012) (“it is well
 established that juvenile court proceedings implicate important state interests”) (citing
 E.T. v. George, 681 F. Supp. 2d 1151, 1175 (E.D. Cal. 2010)). Here, this ongoing juvenile
 dependency proceeding undoubtedly implicates the state’s interest in ensuring the
 health and welfare of Plaintiff’s son. Finally, the Court must “assume that state
 procedures will afford an adequate remedy, in the absence of unambiguous authority to
 the contrary.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987). Here, there is no
 unambiguous authority to show that the state procedures will not afford Plaintiff an
 opportunity to raise her constitutional challenges, and the Court must assume she will
 be afforded the opportunity to do so in the state proceedings. See also Jasmin v. Santa
 Monica Police Dep’t, No. CV 16-06999-FMO (JDE), 2017 WL 10575167, at *15 (C.D. Cal.
 Sep. 22, 2017) (finding that the dependency proceedings “provide[d] Plaintiff an
 opportunity to raise any federal questions”).


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        Considering the above factors, the Court must abstain and dismiss Plaintiff’s
 Section 1985(3) conspiracy claim under the Younger abstention doctrine to the extent
 Plaintiff seeks to enjoin the ongoing dependency proceeding. 3 Gilbertson, 381 F.3d at
 981 (noting dismissal is appropriate when an injunction is sought). To the extent
 Plaintiff also seeks damages, a stay of the damages claims—rather than a dismissal—
 would generally be the appropriate action. Herrera, 918 F.3d at 1042 (“[O]ur court has
 also recognized that, when a district court abstain from considering a damages claim
 under Younger, it must stay—rather than dismiss—the damages action until state
 proceedings conclude.”) (citing Gilbertson, 381 F.3d at 984). However, the Court need
 not stay this case because the Complaint nevertheless fails to state a Section 1985(3)
 conspiracy claim as discussed below.

        2.     Failure to Allege Conspiracy

         As a preliminary matter, Plaintiff’s Section 1985(3) claim against LADL fails
 because LADL did not act under color of state law. An attorney appointed by the court
 to represent a parent in juvenile dependency proceedings does not act under color of
 state law. See, e.g., Avelar v. DCSF, No. CV 16-0471-VBF (AGR), 2016 WL 11507983, at
 *4 (C.D. Cal. Oct. 18, 2016) (finding court-appointed public defender who represented
 parent in dependency proceedings did not act under color of state law); Machul v.
 Browning, No. CV 14-05214-SVW (DFM), 2014 WL 4590008, at *4 (C.D. Cal. Sep. 15,
 2014) (same); Leubner v. Cnty. of San Joaquin, No. 2:08-cv-0853 GEB JFM PS, 2012
 WL 2995671, at *17 (E.D. Cal. July 23, 2012) (same); Anderson v. Dist. Att’y Off., No. 11-
 CV-0572-IEG (MDD), 2011 WL 3013274, at *8 (S.D. Cal. Dec. 1, 2011) (same). Here,
 because LADL was appointed by the superior court, they did not under color of state law
 by representing Plaintiff in the juvenile dependency proceeding. Accordingly, Plaintiff’s


 3 Even if the juvenile dependency proceeding has concluded, the Rooker-Feldman

 doctrine precludes the Court’s review of Plaintiff’s claim because she is “‘complaining of
 injuries caused by state-court judgments rendered before the district court proceedings
 commenced,’ and she is ‘inviting district court review and rejection of those
 judgments.’” Lacy-Curry v. Alameda Cnty. Soc. Servs. Agency, 262 F. App’x 9, 9 (9th
 Cir. 2007) (unpublished) (affirming district court’s dismissal of case challenging state
 court child dependency proceedings under the Rooker-Feldman doctrine).
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 Section 1985(3) conspiracy claim against LADL is dismissed.

         Plaintiff’s Section 1985(3) conspiracy claim also fails because the Complaint does
 not allege facts to show that DCFS and the Superior Court Defendants conspired to
 violate her due process and equal protection rights under the Fourteenth Amendment.
 As discussed above, to state a Section 1985(3) conspiracy claim, Plaintiff must allege
 “(1) the existence of a conspiracy to deprive [him] of the equal protection of the laws;
 (2) an act in furtherance of the conspiracy and (3) a resulting injury.” Addisu, 198 F.3d
 at 1141.

         Here, the Complaint fails to allege any facts showing the existence of a conspiracy
 to deprive her of due process and equal protection rights under the Fourteenth
 Amendment. At best, the Complaint alleges that DCFS removed her child from her
 custody based on its concerns for the child’s welfare and that the Superior Court has
 presided over those proceedings as it is required to do. Moreover, the Complaint fails to
 allege that there was racial or otherwise class-based discriminatory animus behind
 DCFS’s and the Superior Court Defendants’ actions. Wells v. Bd. of Trs. of California
 State Univ., 393 F. Supp. 2d 990, 996 (N.D. Cal. 2005) (“[A]n indispensable element of
 the conspiracy claim is ‘some racial, or perhaps otherwise class-based, invidiously
 discriminatory animus behind the conspirators’ action.’”) (quoting Griffin v.
 Breckenridge, 403 U.S. 88, 102 (1971)). The Court concludes the Complaint fails to state
 a Section 1985(3) claim against DCFS and the Superior Court Defendants.

        B.     Claim 2: Denial of Accommodations Under the Americans with
               Disabilities Act

        The Complaint also asserts a claim under the Americans with Disabilities Act
 (“ADA”) based on allegations that the Superior Court Defendants and the unidentified
 clerks unlawfully denied her reasonable accommodations under the ADA.4

 4 Plaintiff cites 42 U.S.C. § 2000a-6 in the caption of her second claim.(See Compl. at
 15.) Based on the Court’s reading of the Complaint, the Court believes this citation was
 made erroneously. A claim brought under 42 U.S.C. § 2000a is based on allegations
 that a person was denied full and equal enjoyment of goods, services, facilities,
 privileges, advantages or accommodations in a place of public accommodation based on
 a person’s race, color, religion, or national origin. Kindle v. AAA Auto. Club of S. Cal.,
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        The ADA provides that “no qualified individual with a disability shall, by reason
 of such disability, be excluded from participation in or be denied the benefits of the
 services, programs, or activities of a public entity, or be subject to discrimination by any
 such entity.” 42 U.S.C. § 12132. To state a claim under the ADA, a plaintiff must show
 “(1) that she is disabled within the meaning of the ADA; (2) that she is a qualified
 individual with a disability; and (3) that she was discriminated against because of her
 disability.” Smith v. Clark Cnty. Sch. Dist., 727 F.3d 950, 955 (9th Cir. 2013).

         Here, the Complaint fails to allege facts to show that the Superior Court
 Defendants’ and the unidentified clerks’ alleged failure to respond to her request for
 accommodation was because of her disability. Even construing the allegations in
 Plaintiff’s favor, at best they show an oversight by these defendants, not an intentional
 act to deny her accommodations because of her disability.
          Accordingly, Plaintiff’s ADA claim is dismissed for failure to allege sufficient
 facts.
 V.       CONCLUSION
         For the reasons above, the Complaint is subject to dismissal in its entirety.
 Plaintiff must elect to proceed with one of the following options by no later than March
 3, 2022. Plaintiff is expressly warned that failure to timely respond to this Order may
 result in a recommendation to the District Judge that this action be dismissed for failure
 to state a claim, for failure to prosecute, and/or for failing to obey Court orders pursuant
 to Federal Rule of Civil Procedure 41(b).

          A.     Option 1 – File a First Amended Complaint

        Plaintiff may file a signed First Amended Complaint that cures the defects the
 Court has pointed out in this Order. Plaintiff is cautioned that if she fails to state a claim
 upon which relief can be granted, the Court may recommend to the District Judge that
 those claims, which currently include the entire complaint, be dismissed without further


 No. 2:20-cv-06470-RGK (SHK), 2020 WL 11272549, at *4 (C.D. Cal. Oct. 19, 2020).
 There are no allegations, however, that Plaintiff was denied reasonable accommodations
 based on any of these protected classes. Accordingly, the Court construes the Complaint
 as solely raising a claim under the Americans with Disabilities Act.
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 leave to amend.

        In doing so, Plaintiff is reminded to provide a short, plain statement of what
 happened, identify her claims against each defendant, and clearly describe each
 defendant’s wrongful conduct. Plaintiff should clearly identify each defendant being
 sued and the capacity in which Plaintiff is suing each defendant. Also, Plaintiff should
 state specific facts meeting the legal standard for each claim she is bringing. Plaintiff is
 encouraged to use the attached Central District civil rights complaint form when filing
 the First Amended Complaint.

        Plaintiff is advised that an amended complaint supersedes the prior complaint.
 See Ferdik v. Bonzelet, 963 F.2d 1258, 1262 (9th Cir. 1992). This means that the filing of
 an amended complaint entirely supplants or replaces the original or any prior
 complaint, which is “treated thereafter as nonexistent.” Ramirez v. Cnty. of San
 Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015) (internal citations omitted).
 Therefore, the First Amended Complaint must contain all claims Plaintiff intends to
 bring against all defendants.

       The Clerk of Court is directed to mail Plaintiff a blank Central District civil rights
 complaint form to use for filing the First Amended Complaint.

        B.     Option 2 – Voluntarily Dismiss

          Plaintiff may elect to voluntarily dismiss the Complaint without prejudice
 pursuant to Federal Rule of Civil Procedure 41(a)(1) by filing a Notice of Dismissal. The
 Clerk is directed to provide Plaintiff with a Notice of Dismissal Form (CV-009). Plaintiff
 is advised that a voluntary dismissal does not constitute a “strike” under 28 U.S.C.
 § 1915(g), whereas a dismissal of a civil complaint filed by a prisoner on the grounds that
 it “fails to state a claim upon which relief may be granted” would constitute a “strike.”
 See 28 U.S.C. § 1915(g).

        C.     Option 3 – Proceed with Complaint

        Plaintiff may elect to proceed with the Complaint in its current form. To do so,
 Plaintiff must file a statement with the Court stating that he wishes to select Option 3
 and proceed on the Complaint, despite the infirmities described in this order.
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        Plaintiff is expressly cautioned that the deficient claims within the Complaint are
 insufficiently pled and subject to dismissal. If Plaintiff selects Option 3, it will be viewed
 by the Court as the inability to cure the defects identified in this order. As such, the
 Court may recommend dismissal with prejudice to the District Judge. Dismissal with
 prejudice means that Plaintiff will be given no further opportunities to amend, this case
 will be closed, and Plaintiff will not be able to assert these same claims in a new case.
 Dismissal of a civil complaint filed by a prisoner on the grounds that it “fails to state a
 claim upon which relief may be granted” would also constitute a “strike.” See 28 U.S.C.
 § 1915(g).

        IT IS SO ORDERED.




                                                                         Initials of Clerk kh

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